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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: October 4, 2024

* * * * *              *   *    *   *    *   **   *
VITO CANTU,                                  *
                                             *
               Petitioner,                   *              No. 19-1293V
                                             *
v.                                           *              Special Master Gowen
                                             *
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
               Respondent.                   *
* * * * * * * * * * * * *
Jordan Whiddon, Tailim Song Law Firm, Dallas, TX, for petitioner.
Felicia Langel, U.S. Dept. of Justice, Washington, DC, for respondent.

                                      DECISION ON STIPULATION1

        On August 27, 2019, Vito Cantu, (“petitioner”) filed a Petition for Compensation in the
National Vaccine Injury Compensation Program. 2 See Petition (ECF No. 1). Petitioner alleged
that he suffered a shoulder injury related to vaccine administration (SIRVA) as a result of the
trivalent influenza vaccination he received on December 31, 2017. Id. at Preamble.

        On October 4, 2024, respondent filed a Stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation ¶ 7 (ECF No. 93). Respondent “denies
that petitioner sustained a SIRVA injury; denies that the flu vaccine caused his alleged shoulder
injury, or any other condition; and denies that his current condition is a sequela of a vaccine-
related injury.” Id. at ¶ 6. Nevertheless, maintaining their respective positions, the parties “now
1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine
Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
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agree that the issues between them shall be settled and that a decision should be entered
awarding” compensation according to the terms of the Stipulation attached hereto as Appendix
A. Id. at ¶ 7.

        The Stipulation provides:

        1) A lump sum of $105,000.00 in the form of a check payable to petitioner. This
           amount represents compensation for all damages that would be available under
           42 U.S.C. § 300aa-15(a).

        Id. at ¶ 8.

    I adopt the parties’ Stipulation attached hereto and award compensation in the amount and on
the terms set forth therein. Accordingly, the Clerk of Court SHALL ENTER JUDGMENT in
accordance with the terms of the Stipulation and this Decision. 3

    IT IS SO ORDERED.

                                                                       s/ Thomas L. Gowen
                                                                       Thomas L. Gowen
                                                                       Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                         2
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